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                                                                  Friday, 24 August, 2018 05:17:05 PM
                                                                          Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )       Hearing Requested
                                          )
       Defendant.                         )

                        MOTION TO SUPPRESS STATEMENTS

       Now comes the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and pursuant to Fed. R. Crim. P. 12(b)(3)(C), moves this Court for the entry of

an Order suppressing all statements, whether written or oral, and whether inculpatory

or exculpatory, which are alleged to have been made by Mr. Christensen to officers and

agents of the Federal Bureau of Investigation, the University of Illinois Police

Department, and to an individual identified in discovery as an FBI “Confidential

Human Source” and referred to herein as “TLB,” on or about June 14-15, 2017, June 17,

2017, June 23, 2017, and June 29, 2017, and in support thereof states as follows:

                                   Factual Background

       1.     On June 14, 2017, at approximately 11:45 p.m., multiple agents of the

Federal Bureau of Investigation proceeded to Mr. Christensen’s residence located at

2503 Springfield Avenue, Apartment B2 in Champaign, Illinois, to execute a federal

search warrant for a 2008 Saturn Astra automobile that was registered to Mr.

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Christensen and the his wife. Once at Mr. Christensen’s residence, the agents presented

him with a copy of the warrant and asked if he would be willing to answer some

questions at the FBI office, to which Mr. Christensen stated, “I should probably ask for a

lawyer in situations like this.” The agents then took Mr. Christensen into custody and

transported him to the Champaign Resident Agency Office located at 2117 West Park

Court in Champaign, Illinois, for questioning.

      2.     Upon arriving at the Champaign Resident Agency Office shortly after

12:00 a.m. on June 15, 2017, FBI Special Agent Anthony Manganaro and University of

Illinois Police Department Detective Eric Stiverson took Mr. Christensen to a small,

closed, and windowless interrogation room where they advised him of his rights and

questioned him at length concerning the disappearance of an Asian female graduate

student at the University of Illinois at Champaign-Urbana that was reported to law

enforcement authorities on June 9, 2017. As a result of the agents’ interrogation of Mr.

Christensen, Mr. Christensen is alleged to have made various statements which the

Government will seek to use as evidence against him.

      3.     During the course of the custodial interrogation session, at approximately

1:26 a.m., however, Mr. Christensen again specifically and unequivocally invoked his

rights under Miranda v. Arizona, 384 U.S. 436 (1966), by advising Agent Manganaro and

Detective Stiverson that “I really don’t want to talk no more without a lawyer.”

      4.     In response thereto, Agent Manganaro and Detective Stiverson terminated

their interrogation of Mr. Christensen at approximately 1:30 a.m., and left him alone in

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the room. Agent Manganaro telephoned an Assistant United States Attorney to report

the results of the interrogation, and the Assistant United States Attorney advised Agent

Manganaro to hold Mr. Christensen in custody for review of violations of Title 18 U.S.C.

§1001, and to transport him to the Ford County Detention Facility in Paxton, Illinois,

pending that review.

       5.    While Mr. Christensen was waiting in the interrogation room at the FBI

Office to be transported to the Ford County Detention Facility, FBI Special Agent

Harvey Pettry entered the interview room “to keep [Mr. Christensen] company” while

the transport was being arranged. At the time he entered the interrogation room, Agent

Pettry knew that Mr. Christensen previously had invoked his Miranda rights during his

interrogation by Agent Manganaro and Detective Stiverson. Notwithstanding that fact,

Agent Pettry initiated a second round of interrogating Mr. Christensen without counsel

present, and as a result thereof, Mr. Christensen is alleged to have made various oral

statements to Agent Pettry which the Government will seek to use as evidence against

him.

       6.    On June 15, 2017, at 2:36 a.m., Mr. Christensen departed the FBI Resident

Agency Office in Champaign in the custody of three law enforcement officers and

arrived at the Ford County Detention Facility in Paxton, Illinois, at 3:04 a.m., where Mr.

Christensen was booked into the jail.

       7.    On June 16, 2017, at or shortly after midnight, Mr. Christensen was

released from custody at the Ford County Detention Facility in Paxton, Illinois, and was

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driven directly to the Super 8 Hotel in Rantoul, Illinois, by two or more federal agents,

where he arrived at approximately 1:00 a.m. on June 16, 2017, and checked into the

hotel for the night.

       8.     Later, on June 16, 2017, FBI Special Agents Andrew Huckstadt and Brian

Schenkelberg met with a female associate of Mr. Christensen (who is hereinafter

referred to “TLB”) at the FBI Champaign Resident Agency. As a result of that meeting,

“TLB” agreed to serve as a documented “confidential human source” for the FBI and

executed a Form FD-472 wherein she agreed to wear or utilize a body recorder,

microphone, transmitter, or other recording device “for the purpose of monitoring,

viewing, listening to, and/or recording any activity I may have with Brendt A.

Christensen....which I may have on or about 6/16/2017 and continuing thereafter until

such time as either I revoke my permission or the FBI terminates the investigation.”

       9.     Between June 16-17, 2017, FBI Special Agent Katherine Tenaglia initiated a

series of phone conversations and text messages with Mr. Christensen’s wife for the

purpose of obtaining incriminating information from Mr. Christensen through his

wife’s questioning of him. Special Agent Tenaglia also solicited Mr. Christensen’s wife

to encourage and insist that Mr. Christensen contact the FBI and agree to speak with

them to clear things up, notwithstanding the fact that Special Agent Tenaglia knew or

should have known that Mr. Christensen had specifically invoked his right to counsel

and had refused to speak to the FBI on two previous occasions. On information and

belief, Mr. Christensen’s wife agreed to follow Special Agent Tenaglia’s suggestions,

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and thereafter strongly encouraged, pressured, and insisted that Mr. Christensen

contact the FBI and go speak with them to answer questions and clear things up.

      10.    Accordingly, on June 17, 2017, at 1:52 p.m., FBI Special Agents Michael

Carter, Brian Schenkelberg, and Katherine Tenaglia initiated contact with Mr.

Christensen for an interview at the FBI Resident Agency Office in Champaign, Illinois,

notwithstanding the fact that said agents knew, or should have known, that Mr.

Christensen previously had twice invoked his Miranda rights when confronted by the

agents at his residence on June 14, 2017, and during his interrogation by Agent

Manganaro and Detective Stiverson on June 15, 2017. As a result of that interview, Mr.

Christensen was questioned at length by Agents Carter and Schenkelberg without

counsel present and is alleged to have various statements which the Government will

seek to use as evidence against him.

      11.    On June 23, 2017, pursuant to her role as an FBI Confidential Human

Source, and acting under the supervision, direction and control of the FBI agents,

“TLB” initiated a series of telephone text messages with Mr. Christensen and

deliberately engaged in surreptitious questioning of Mr. Christensen for the purpose of

eliciting incriminating statements from him. Again, “TLB” was directed and authorized

to engage in such investigative conduct by the very same FBI agents who knew, or

should have known, that Mr. Christensen had twice invoked his Miranda rights when

confronted by the agents at his residence on June 14, 2017, and during his interrogation

by Agent Manganaro and Detective Stiverson on June 15, 2017. As a result of “TLB’s”

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text messages with Mr. Christensen on June 23, 2017, Mr. Christensen is alleged to have

made various written statements which the Government will seek to use as evidence

against him.

      12.      On June 29, 2017, from approximately 6:30 p.m. to 8:45 p.m., “TLB,”

pursuant to her role as an FBI Confidential Human Source, and wearing a recording

device, and acting under the supervision, direction and control of the FBI agents,

initiated a number of conversations and communications with Mr. Christensen, and

thereby deliberately engaged in surreptitious questioning and recording of Mr.

Christensen for the purpose of eliciting incriminating statements from him. Again,

“TLB” was directed and authorized to engage in such investigative conduct by the very

same FBI agents who knew, or should have known, that Mr. Christensen had twice

previously invoked his Miranda rights during when confronted by the agents at his

residence on June 14, 2017, and during his interrogation by Agent Manganaro and

Detective Stiverson on June 15, 2017. As a result of “TLB’s” conversations and

communications with Mr. Christensen on June 29, 2017, Mr. Christensen is alleged to

have made various statements which the Government will seek to use as evidence

against him.

                                       Argument

      13.      All of Mr. Christensen's statements which are alleged to have been made

by him to officers and agents of the Federal Bureau of Investigation, the University of

Illinois Police Department, and to “TLB,” the FBI’s Confidential Human Source, on June

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14-15, 2017, June 17, 2017, June 23, 2017, and June 29, 2017, were involuntary and were

obtained in violation of Mr. Christensen's rights secured under the Fifth and Sixth

Amendments to the United States Constitution. Miranda v. Arizona, 384 U.S. 436 (1966);

United States v. Dickerson, 520 U.S. 428 (2000).

       14.    In Miranda v. Arizona, 384 U.S. 436, 469-73 (1966), the Supreme Court held

that before the police can interrogate a suspect who is in police custody, the officers

must first advise the suspect of his right to consult with an attorney and to have counsel

present during the interrogation. Under Miranda and its progeny, if the suspect invokes

his right to have counsel present with him during the interrogation, the suspect is not

subject to further interrogation until counsel is present or until the suspect himself

initiates further discussions. Edwards v. Arizona, 451 U.S. 477, 484-85 (1981); Arizona v.

Roberson, 486 U.S. 675, 682 (1988); McNeil v. Wisconsin, 501 U.S. 171, 176-77 (1991); United

States v. McKinley, 84 F.3d 904, 908 (7th Cir. 1996) (“If a suspect invokes his right to

counsel as to one offense, he may not be reapproached and interrogated about that or a

separate offense unless counsel is present”).

       15.    In Edwards v. Arizona, supra, the Supreme Court established a presumption

that once a suspect invokes his right to counsel during a custodial interrogation, any

subsequent Miranda waiver is involuntary until counsel is present or the suspect himself

initiates communication, exchanges, or conversation. Arizona v. Roberson, 486 U.S. 675,

680–81 (1988). The Edwards presumption “is not offense specific.” McNeil v. Wisconsin,

501 U.S. 171, 177 (1991) (citing Roberson, 486 U.S. at 682–83). Accordingly, “[o]nce a

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suspect invokes the Miranda right to counsel for interrogation regarding one offense, he

may not be reapproached regarding any offense unless counsel is present.” Id.

       16.    Even if the suspect is alleged to have reinitiated a conversation with the

police, the burden “remains upon the prosecution to show that subsequent events

indicated a waiver of the Fifth Amendment right to have counsel present during the

interrogation.” United States v. Huerta, 239 F.3d 865, 873 (7th Cir. 2001); citing Oregon v.

Bradshaw, 462 U.S. 1039, 1044 (1983). To establish a valid waiver, the government must

show that the waiver was knowing, intelligent, and voluntary under the “high

standar[d] of proof for the waiver of constitutional rights [set forth in] Johnson v. Zerbst,

304 U.S. 458 (1938).” Miranda, 384 U.S. at 444. But it is important to note in reference to

this case that “an Edwards initiation occurs when, without influence by the authorities,

the suspect shows a willingness and a desire to talk generally about his case through a

third person…what is important is the impetus for discussion comes from the suspect

himself.” Van Hook v. Anderson, 488 F.3d 411, 418 (6th Cir. 2007) (emphasis added); see

also United States v. Whaley, 13 F.3d 963, 966-67 (6th Cir. 1994).

       17.    In Maryland v. Shatzer, 559 U.S. 98 (2010), the Court delineated the scope of

the Edwards presumption by holding that its protections to the suspect cannot extend

into perpetuity. In Shatzer, the Court considered whether, and under what

circumstances, a break in custody terminates Edwards' protections. The Court held that,

when a suspect invokes the right to counsel during custodial interrogation, but is

subsequently released from Miranda custody for a period of 14 days or more, the

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Edwards presumption dissolves, and the police may reinitiate questioning so long as the

suspect gives a valid waiver of his Fifth Amendment rights. Shatzer, 559 U.S. at 109–10.

       18.    In this case, Mr. Christensen clearly and unequivocally invoked his right

to counsel under Miranda two times: first, on June 14, 2017, at 11:45 p.m., when

confronted by the FBI agents at this residence with the warrant to search his vehicle, by

stating, “I should probably ask for a lawyer in situations like this;” and second, on June

15, 2015, approximately 1:26 a.m., at the Champaign Resident Agency Office by

advising Agent Manganaro and Detective Stiverson that, “I really don’t want to talk no

more without a lawyer.”

       19.    Notwithstanding his invocation of his Miranda rights, Mr. Christensen

was subject to police-initiated interrogation in the absence of counsel on June 14-15,

2017, and June 17, 2017, and police-initiated, surreptitious interrogation in the absence

of counsel by FBI confidential human source “TLB” on June 23, 2017, and June 29, 2017,

within the 14 day window of his release from Miranda custody from the Ford County

Jail on June 16, 2017. Under Edwards, supra, and its progeny, all of the statements which

Mr. Christensen is alleged to have made on those four occasions should be suppressed

as having been obtained by government agents in violation of Mr. Christensen’s rights

secured under the Fifth and Sixth Amendments to the United States Constitution.




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       WHEREFORE, Defendant requests the entry of an Order suppressing all

statements, whether written or oral, and whether inculpatory or exculpatory, which are

alleged to have been made by Mr. Christensen to officers and agents of the Federal

Bureau of Investigation, the University of Illinois Police Department, and to an

individual identified in discovery as an FBI “Confidential Human Source” and referred

to herein as “TLB,” on or about June 14-15, 2017, June 17, 2017, June 23, 2017, and June

29, 2017.

                                  Respectfully submitted,

                                  BRENDT A. CHRISTENSEN, Defendant

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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the filing: Mr. Eugene Miller and Mr. Bryan Freres, Assistant United States

Attorneys, 201 South Vine Street, Urbana, IL 61801, and Mr. James B. Nelson, Trial

Attorney, Capital Case Section, 1351 F Street NW, Room 625, Washington, D.C. 20004.

A copy was also mailed to Mr. Christensen.

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